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 4                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 5                                        AT SEATTLE

 6   CHLOE LUCERO,

 7                               Plaintiff,                 CASE NO. 2:21-cv-00683-RAJ-BAT

 8           v.                                             ORDER DENYING MOTION FOR
                                                            THE APPOINTMENT OF
 9   UNITED STATES OF AMERICA,                              COUNSEL

10                               Defendant.

11          On September 23, 2021, the Court ordered Plaintiff to file an Amended Complaint and

12   denied various motions, including Plaintiff’s motion for counsel. Dkt. 18. In a letter dated

13   September 27, 2021, Plaintiff again requests the appointment of counsel for a variety of reasons

14   outside of the complaint which Plaintiff has been ordered to amend. Dkt. 20. As previously

15   explained, there is no right to counsel in a civil action absent exceptional circumstances, which

16   cannot be determined in this case as Plaintiff has yet to file a viable complaint.

17          Accordingly, Plaintiff’s motion for counsel (Dkt. 20) is DENIED. Plaintiff is reminded

18   that if she wishes to proceed in this case, an amended complaint must be filed no later than

19   October 8, 2021 so that this Court may determine whether jurisdiction is appropriate and

20   whether Plaintiff has stated a legal claim.

21          DATED this 4th day of October, 2021.

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23                                                         A
                                                           BRIAN A. TSUCHIDA
                                                           United States Magistrate Judge

     ORDER DENYING MOTION FOR THE
     APPOINTMENT OF COUNSEL - 1
